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1                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO
2

3    Civil Action No. 1:23-cv-01934

4
     KENNETH SCHMIDT,
5

6          Plaintiff(s),

7    v.
8
     JAMES SUSCHINSKY
9    and
     Does 1-10, whose true names are unknown,
10

11

12              COMPLAINT FOR BREACH OF CONTRACT AND JURY DEMAND

13

14
           Kenneth Schmidt (“Plaintiff”), through counsel, hereby prays to this honorable
15
     Court for relief based on the following:
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                                   JURISDICTION AND VENUE
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18         1.      Under 28 U.S.C. § 1332, federal courts may hear cases in which a citizen

19   of one State sues a citizen of another State or nation and the amount at stake is more
20
     than $75,000.
21
           2.      Plaintiff is an individual, Kenneth Schmidt, and is a citizen of the state of
22
     California.
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24         3.      Defendant is an individual, James Suschinsky, and is a citizen of the

25   state of Colorado (“Defendant”).
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1          4.      Here, the amount in controversy is One-Hundred and Two Thousand
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     Dollars ($102,000.00), not counting interest, and costs of court.
3
                                            THE PARTIES
4
           5.      Plaintiff, Kenneth Schmidt, a California citizen resides at 14720 Raritan Dr.
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6    Whittier, California 90604.

7          6.      Defendant, James Suschinsky, a Colorado citizen resides at 292 W
8
     Palomar Circle, Pueblo West, Colorado 81007.
9
           7.      On information and belief, Plaintiff alleges that Defendants DOES 1
10
     through 10 (collectively, “DOE Defendants”) are other parties not yet identified who
11

12   are liable under the claims, have contributed to the breach of Defendant, or have

13   engaged in one or more of wrongful practices alleged herein.
14
                                    FIRST CLAIM FOR RELIEF
15
                 (Breach of Contract and Covenant of Good Faith and Fair Dealing)
16
           8.      At all times relevant to this litigation, Defendant was in a written
17

18   contractual relationship (“Contract”) with Plaintiff and owed a duty to Plaintiff to act in

19   good faith and deal fairly with him.
20
           9.      Plaintiff performed all obligations under the Contract and complied with
21
     the contract’s terms.
22
           10.     Defendant did not fulfill his obligations under the Contract.
23

24         11.     Defendant breached his duties on more than one occasion by wrongfully

25   converting, taking, utilizing, or managing property, and financial interests of Plaintiff.
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1          12.     Such acts and omission leading to the Defendant’s breach of his
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     contractual duties to Plaintiff and a breach of his duty to deal in good faith and fairly
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     with Plaintiff and were the actual and proximate cause of harm to Plaintiff.
4
           13.     Defendant’s conduct was outrageous, with his acts being done with
5

6    malice or bad motives or reckless indifference to the interests of Plaintiff.

7          14.     Defendant is liable in damages to Plaintiff in excess of One-Hundred and
8
     Two Thousand Dollars ($102,000.00).
9
                                  SECOND CLAIM FOR RELIEF
10
                                        (Unjust Enrichment)
11

12         15.     Plaintiff hereby restates and realleges and the allegations set forth in the

13   preceding paragraphs and incorporates them by reference.
14
           16.     At all times relevant to this litigation, Defendant owed a legal duty to
15
     Plaintiff to not unfairly or unduly take advantage of Plaintiff or commit wrongful acts in
16
     order to unjustly enrich himself at Plaintiff’s expense or at the expense of Plaintiff’s or
17

18   financial interests.

19         17.     Defendant unjustly enriched herself by wrongfully converting, taking,
20
     utilizing, or managing the property and financial interest of Plaintiff.
21
           18.     Such acts and omissions leading to the Defendant’s unjust enrichment
22
     were the actual and proximate cause of harm to Plaintiff.
23

24         19.     Accordingly, Defendant is liable in damages to Plaintiff in excess of One-

25   Hundred and Two Thousand Dollars ($102,000.00), arising out of Defendant’s unjust
26
     enrichment.
                                                   3
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1                                   THIRD CLAIM FOR RELIEF
2
                                            (Conversion)
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           20.    Plaintiff hereby restates and realleges and the allegations set forth in the
4
     preceding paragraphs and incorporates them by reference.
5

6          21.    At all times relevant to this litigation, Defendant owed a duty not to

7    convert Plaintiff’s property to Plaintiff’s own use and benefit.
8
           22.    Defendant breached that duty on more than one occasion and such
9
     breaches were the actual and proximate cause of harm to Plaintiff.
10
           23.    Accordingly, Defendant is liable in damages to Plaintiff in excess of One-
11

12   Hundred and Two Thousand Dollars ($102,000.00).

13                                 FOURTH CLAIM FOR RELIEF
14
                                               (Fraud)
15
           24.    Plaintiff hereby restates and realleges and the allegations set forth in the
16
     preceding paragraphs and incorporates them by reference.
17

18         25.    At all times relevant to this litigation, Defendant owed a duty to Plaintiff to

19   not fraudulently obtain Plaintiff’s property.
20
           26.    Defendant acted fraudulently by entering into the Contract with Plaintiff
21
     with the knowledge that the basis of the contract, i.e. the purported investment
22
     opportunity represented by Defendant in the Contract, did not exist, and with the
23

24   knowledge that Plaintiff would not ever receive a return on his investment.

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1             27.   Defendant knew that the representations made in the Contract were false
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     when it was made or made the representation recklessly and without regard for the
3
     truth.
4
              28.   Defendant intended for Plaintiff rely on the representations.
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6             29.   Plaintiff reasonably relied on Defendant’s representations.

7             30.   Plaintiff was harmed.
8
              31.   Defendant breached his duty to not fraudulently obtain Plaintiff’s property
9
     and that breach was the actual and proximate cause of harm to Plaintiff.
10
              32.   Accordingly, Defendant is liable in damages to Plaintiff in excess of One-
11

12   Hundred and Two Thousand Dollars ($102,000.00).

13                                    FIFTH CLAIM OR RELIEF
14
                                          (Punitive Damages)
15
              33.   Plaintiff hereby restates and realleges and the allegations set forth in the
16
     preceding paragraphs and incorporates them by reference.
17

18            34.   At all times relevant to this litigation, Defendant owed a duty to Plaintiff to

19   act with due care and regard for Plaintiff’s property, and financial interests.
20
              35.   Defendant breached that duty of due care on more than one occasion
21
     and such breaches constitute outrageous conduct and reckless disregard of the rights
22
     and interests of Plaintiff.
23

24            36.   Defendant’s outrageous conduct towards Plaintiff was done with malice

25   or bad motives or reckless indifference to Plaintiff’s interests.
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1          37.    Accordingly, Defendant is liable for punitive damages to Plaintiff in
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     excess of thirty-thousand dollars, the exact amount to be proven at trial.
3
                                          JURY DEMAND
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           38.    Plaintiff demands a jury trial.
5

6                                     PRAYER FOR RELIEF

7          WHEREFORE, Plaintiff prays for judgement as follows against all Defendants
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     and with respect to each claim for relief:
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           a.     That Plaintiff be awarded the amount payable under the Contract, One-
10
     Hundred and Two Thousand Dollars ($102,000.00);
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12         b.     That Plaintiff be awarded pre-judgment interest as allowed by law;

13         c.     That Plaintiff be awarded attorney’s fees pursuant to the Contract;
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           d.     That Plaintiff be awarded punitive damages of not less than thirty
15
     thousand dollars;
16
           e.     That Plaintiff be awarded such further relief as the Court deems proper.
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20
     s/ Justin Hamilton Cross
21   Justin Hamilton Cross
     HamiltonCross, P.C.
22   177 E. Colorado, Blvd. Suite 200
     Pasadena, CA 91105
23
     Telephone: (213) 927-9273
24   E-mail: justin@hamiltoncross.net
     Attorney for Plaintiff, Kenneth Schmidt
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